
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent’s Answer.
Claimant seeks payment of the sum of $152.70 for unpaid medical bills incurred by a patient of Weston State Hospital. Respondent, in its Answer, admits the validity of the claim, but states that there were insufficient funds remaining in its appropriation for the fiscal year in question from which the claim could be paid.
While the Court feels that this is a claim which, in equity and good conscience, should be paid, the Court also believes that an award cannot be made based on the decision in Airkem Sales and Service, et al. vs. Dept. of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
